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Attachment E

 
Case 2:19-cr-20026-GAD-EAS ECF No. 110-6 filed 09/05/19 PagelD.720 Page 2 of 17

From: santoshreddy sama

To: ali.milani@universityoffarmington.edu;
carey.ferrante@ universityoffarmington.edu
Subject: Students list

Date: Wednesday, August 29, 2018 1:04:09 PM

Attachments: Student's details.xisx

 
 

Case 2:19-cr-20026-GAD-EAS ECF No. 110-6 filed 09/05/19 PagelD.721 Page 3of17

 

Student Name

Date of Joining

Fee paid

Due

Toatal

 

Sudhakar Gaddam

 

Narender Koyyada

 

Sai Lavanesh, Deshabattini

 

Suresh Reddy Kandala

 

Vinesh kumar Polisetty

 

Abhishek Reddy Hanumanthu

 

Srinath Reddy Gattupally

 

Subhash Giri

 

W]LOIN DUR I WI Mie

Shashikanth Konjarla

 

10

Sai Krishana Daggu

 

11

Rajesh Resoju

 

12

Phanindhar kumar Soma

 

13

Mehar chandra Chintala

 

14

Bharat reddy Kakireddy

 

15

Harsha vardhan Thadkapally

 

16

Shiva kumar Padi

 

17

Ravi Teja Mutyala

 

18

Bhanu kiran Pasula

 

19

Suresh Pigili

 

20

Arjun reddy Dendi

 

21

Ajay kumar Padmanabula

 

22

Ajay kumar Katkuri

 

23

Avinash kumar Methari

 

24

Mani shekar Lotta

 

25

Spandana Nayakanti

 

26

Aviansh Thakalapally

 

27

Tejeshwar Muddaluru

 

28

Jagadeshwar Rao Jupally

 

29

Mahesh Jagatap

 

30

Nagavenkata Madhuri Singampalli

 

31

Praneeth Punnam

 

32

Mounika Nagireddy

 

 

33

Shiva prasad Gummala

 

 

 

 

 

 

 

08/29/2018
 

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34

Venkatesh Chanda

 

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Sravan kumar Bommana

 

36

Mohan kumar Bade

 

37

Satish Dorepalli

 

38

Jaishwar Lokula

 

39

Sandeep kumar Maram

 

40

Sai kiran Lingala

 

41

Saidarao Potla

 

42

Praneeth Vaddeboina

 

43

Sandeep Bakuna

 

44

Bharadwaja Lanke

 

45

Harikanth Bantolla

 

46

Ranjith kumar kaitha

 

47

Nikesh Pasupuletti

 

48

Rakesh Bazar

 

49

Sandeep reddy Katti

 

50

Lakshman kumar Kodipunjula

 

51

Vamshi Gaddam

 

52

Umadevi Chovva

 

53

Arun reddy Gutha

 

54

Shiva kumar

 

55

Sai kiran Gutha

 

56

Pradeep reddy Dubbaka

 

57

Hari prasad Cheruku

 

58

Shiva kumar Abburi

 

59

Sai srikanth reddy Palakolanu

 

60

Nagarjuna reddy Meruvu

 

61

Dilip Gujja

 

62

Praveen kumar Mamindla

 

63

Naveen Jadow

 

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Bala charan Basanla

 

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Swetha Souduri-

 

66

Manoj Yenumulapally

 

 

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Ajay kumar Meka

 

 

 

 

 

 
 

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Shiva kumar Vallaboju

 

69

Navya Nalla

 

70

Srikanth Yalla

 

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Revan kumar Vaddepalli

 

72

Druva kumar Kudumula

 

73

Sai krishna Vemulapalli

 

74

Surekha Rampa

 

75

Sandeep Venkumanthi

 

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Rakesh Mamidi

 

71

Nithin Yanamagandla

 

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Srikanth. Kotta

 

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Anroop sai reddy Pontula

 

80

Rama rao Annamaneni

 

81

Ashwin Yadav Nimmala Ramesh

 

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Nithin Janamandla

 

83

Abhilash Madhavaram

 

84

Karthik reddy Buchanolla

 

85

Sree Nithin Jakkula

 

86

Santosh reddy Chemarla

 

87

Sujith Annabomina

 

88

Thrilok reddy Kolan

 

89

Sravan Samala

 

90

Sandeep Paidipalli

 

91

Satish kumar Goud Koyyada

 

92

Mallikarjun Nalabothu

 

93

Praveen kumar Bodige

 

94

|Barath reddy Yadavali

 

95

Farzana Hooda

 

96

Prem kumar Rampusa

 

97

Sai datta pavan Jinkala

 

98

Nitesh Sutha

 

99

Vamshi krishna

 

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Sarvesh Nurukonda

 

 

101

Sai krishnakanth Vemavarapu

 

 

 

 

 

 

 
 

Case 2:19-cr-20026-GAD-EAS ECF No. 110-6 filed 09/05/19 PagelD.724 Page 6of17

 

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Anoop reddy Chinniti

 

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Mallikarjun reddy P

 

104

Rajashekar Gorantla

 

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Apparigani Shravan

 

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Santosh reddy Janne

 

107

Adarsh reddy Dammyyagari

 

108

Ashish Gajula

 

109

Rohit reddy Bokka

 

110

Vamshi Rachamalla

 

111

Anil reddy Kunduru

 

112

Naval kishore Kadari

 

113

Venkataswamy Jaddu

 

114

Kayati Swaroop

 

115

Mohammed Sohael

 

116

Prathyush mamidela

 

 

 

 

117|Sikanth Katta
118]Dinesh Pagidi

119] Naveen Pedamalla
120}Ravinder reddy Dashetly

 

121

Venkanna Rayapuram

 

122

Praveen kumar Ganji

 

123

Ravi Bellamkonda

 

124

Sai Santosh Gopishetly

 

125

Deepthi Kasinadhuri

 

126

Gayathri sagar Rachakonda

 

127

Manoj kumar Nanjala

 

128

Somashekar Pinjala

 

129

Anil Bhaskar reddy Pasam

 

130

Sai chand Talupula

 

131

Venkata naga gopi Katari

 

132

Hema Palli

 

133

Sreevani Kauem

 

134

Tagore Moturi

 

 

135

Sai Kiran Nagala

 

 

 

 

 

 

 
 

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136

Shiva Bharath krishna Komutam

 

137

Shyam prasad Dodda

 

138

Sandeep reddy Yellu

 

139

Prashanth goud Balasani

 

140

Hari krishna Bandi

 

141

Ramu Vemavarapu

 

142

Sameer Shaik

 

143

Murali krishna Goudguluri

 

144

Venkata shiva krishna Thanikonda

 

145

Sri teja Chava

 

146

Pramod Lella

 

147

Bala chandan reddy Komma reddy

 

148

Praneeth yadav Vanguru

 

149

Sowmya Bhavana

 

150

Sravan Apparigani

 

151

Venkata Ramakanth Gangavarapu

 

152

Meghana Gavini

 

153

Bal reddy Ampala

 

154

Udai bhanu Chunchu

 

155

Bahrath Bachala

 

156

Venkata naidu Pemmasani

 

157

Buddala mohan Vinodh

 

158

Ravi Prasad Lanka

 

159

Pavan kumar Pinnamaneni

 

160

Adithya reddy Koduganti

 

161

Shashank Pokala

 

162

Rohan Banuri

 

163

Madhu sudhan reddy Bezawada

 

164

Kishore Adapa

 

165

Tejaswi Ponuganti

 

166

Rama phani kumar Moola

 

167

Nithin reddy kanmantha

 

168

Shirusha Yerramshetti

 

 

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Soundara raj Preshanna

 

 

 

 

 

 

 
 

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170

Bala naga durga Potarlanka

 

171

Gopi chowdary Ravipati

 

172

Wang Jason

 

173

Sunil babu Bandari

 

174

Anila Kothurumalla

 

175

Thyagarajulu reddy Chinta reddy

 

176

Kiran kumar Cherupally

 

177

Shiva reddy Peddi reddy

 

178

Krishan kanth Adloori

 

179

Santosh reddy Mummadi

 

180

Shyam prakash babu Narlashetty

 

181

Jayanth reddy Nadikatta

 

182

Sai Ram Teja Sri Harsha

 

183

Bharath Gangi

 

184

Priyanka Choudary

 

185

Sai Pavan reddy Edla

 

186

Sai Spandana Burri

 

187

Viswateja Edara

 

188

Kiran Shyam Musunuru

 

189

Sai Srinivas Ganti

 

190

Laxmi Srujan kumar Illuri

 

191

Monica Jonnada

 

192

Sai Kumar Gelli

 

193

Sahithi Akkenapally

 

194

Amareshwara reddy Paraney

 

195

Pooja Menda

 

196

Shekar Volla

 

197

Tharun reddy

 

198

Sidhu Ananthula

 

199

Surya Teja

 

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Poojitha reddy Mallu

 

201

Sravan kumar Mailaram

 

202

Thrilok Kukkudapu

 

 

203

Sainadh Nuvvula

 

 

 

 

 

 

 
 

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Hari Rajesh Thotakuri

 

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Anil kumar Aparadi

 

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Dheeraj reddy Sama

 

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Vamshi krishna reddy Komati reddy

 

208

Amrutham Manish

 

209

Rohit reddy Vadire

 

210

Ganesh reddy Nagarkunta

 

211

Dileep Chinnaiagari

 

212

Prudhuvi Nag Challa

 

213

Mahesh reddy Kuchikulla

 

214

Saurub dopuru

 

215

Vamshidhar reddy Kotla

 

216

Venkat teja Kamisetty

 

217

Abhilash Duggula

 

218

Shiva Prasanna kumar Chintapalli

 

219

Priyanka Srirama

 

220

Sai Shashank Panchangam

 

221

Vishal Datta

 

222

Kiran Daruwadi

 

223

Satyavardhan Karinilla

 

224

Sunil manohar reddy Kommireddy

 

225

Srikanth reddy Vangala

 

226

Sukesh Anapati

 

227

Mahesh babu Kakumanu

 

228

Manasa Peddi

 

229

Sai Krishna Yadav Challendula

 

230

Rahul kumar Gandhe

 

231

Bharath goud Yerukala

 

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Nikhil Chepuri

 

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Sagar Kandula

 

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Pavan Kalyan

 

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Narsimha rao Ayliani

 

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Vishal Anumula

 

 

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Gopi krishna Gutta

 

 

 

 

 

 
 

 

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Sharath Kamatham

 

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Gandalam Rudrayya Kasturi Rang

 

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Suppala Chetan

 

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Lavanam Sandeep

 

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Venkata Sai Nirmal Meashala

 

243

Srisha Thunikipata

 

244

Sriharsha Gunda

 

245

Sai Charan Laddipalli

 

246

Jyothi gandham

 

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Sujith Chand Macharla

 

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Veenadhri reddy Ramidi

 

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Udaypal reddy Solipuram.

 

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Soma shekar reddy Patlola

 

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Nanda Kumar

 

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Sai Srinivas Ganti

 

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Mahesh babu Thaduri

 

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Vijay kumar Komma

 

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Sailesh Guedul

 

256

Yogesh Pinemula

 

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Siddarth Sanchinola

 

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Saikanth H

 

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Ahemed Pasha

 

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Pavan kumar

 

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Prakash reddy Lenkala

 

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Prudhvik reddy Y

 

263

Shiva teja Dachepally

 

264

Sudheer Malku

 

265

Srikanth Suram

 

266

Shravan kumar Chattagopam

 

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Uday Kumar Kothakonda

 

268

Hari Shubam Bathula

 

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Adithya Kovour

 

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Abhilash Japathi

 

 

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Prashanth Martha

 

 

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Case 2:19-cr-20026-GAD-EAS ECF No. 110-6 filed 09/05/19 PagelD.729 Page 11of17

 

272

Arjun reddy Allumalla

 

273

Santosh Kandula

 

274

Murgesham

 

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Sarvanan

 

276

Kiran kumar Kannoju

 

277

Chandu Poonur

 

278

Hitesh Kumar Sunkarapally

March

 

279

Venkat reddy Ponna

 

280

Pranaya sri Kancharla

 

281

Nehal kumar Gunjarla

 

282

Sharath reddy Kaithi

 

283

Abhilash kumar Budida

 

284

Ashu vidya Kusuma

 

285

Suresh Kumar Aravolu

 

286

Venkatesh Totha

 

287

Manoj Banuka

 

288

Sai Varaprasad yadav Caveri

 

289

Solipuram Srinivas reddy

 

290

Karthik reddy Palwai

 

291

Srinivas yadav Busaboina

 

292

Sudheer Maluku

 

293

Manjunath Gunde Panga

 

294

Rajashekar Ganta

 

295

Goverdhan reddy Maligireddy

 

296

Sandeep Kota

 

297

Mani Kiran

 

298

Gulam Mujtaba Hamshi

 

299

Mohammed Akbar

 

300

Kranthi kiran reddy Thadakapally

 

301

Manik Vajja

 

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Vamshi Rakepalli

 

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Swamy Sarnala

 

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Prabhakar Auti

 

 

305

 

Venkat reddy Kusam

 

 

 

 

 

 
 

Case 2:19-cr-20026-GAD-EAS ECF No. 110-6 filed 09/05/19 PagelD.730 Page 12 of 17

 

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Sairam Gangishetty

 

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Kranthi kiran yadav Maddi

 

308

Durga prasad Nogothi

 

309

Gnana Prakash reddy Tiyyagura

 

310

Karthikey Coumbature Murugesan

 

311

Sravanan Palaniappan

 

312

Yaswanth Kolluru

 

313

Sambashiva Naspuri

 

314

Jagadish Koduri

 

315

Spandana Nidhuram

 

316

Tejaswini Yatam

 

317

Sruthi Edla

 

318

Melody Chang

 

319

Satish kumar Kamaraj

 

320

Sai krishna Muthpuri

 

321

Ramesh reddy Mamidi

 

322

Vamshi reddy Paila

 

323

Yugendhar reddy Sappidi

 

324

Sunil Patil

 

325

Shashikanth goud Dudala

 

326

Bindhu

 

327

Sai ram Pittala

 

328

Ajay Kumar

 

329

Prashanth reddy Jagirapu

 

330

Sreeja Varma Mudunur

 

331

Adi Shankara reddy Gangasani

April

 

332

Kishore kumar Chnchu

 

333

Rakesh reddy

 

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Srikanth Yadav

 

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Sadeep Kaya

 

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Bharath Pyla

 

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Swetha

 

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Chenna Keshava reddy

 

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Santosh reddy

 

 

 

 

 

 

 
 

Case 2:19-cr-20026-GAD-EAS ECF No. 110-6 filed 09/05/19 PagelD.731 Page 13 of 17

 

340

Bala Sundara rao Padvala

 

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Sai Praveen Mittapali

 

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Gopi ChandhThotakura

 

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Ramachandhar reddy Mamidi

 

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Madhuri

May

 

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Divya

 

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Kiran

 

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Vivek reddy

 

 

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Chandu

 

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Aslam Basha Sheik

Gopi shankar reddy Komma
Rama rao Mannava
Dilvar Singh

Anil kumar Konde

Gayaz ali Mohammad
Thumala Sameera
Ananthula Deeraj reddy
Srikanthi E

Manisha E

Sushma A

Veena K

Santosh reddy K

Naresh kumar reddy S
Divya Sree

Venkata rao Mukkapati
Vamshidhar reddy

Sri ram Chagantipati
Vangur Dheeraj kumar reddy
Sai sriman Pilli

Rudhika Sripuram
Tejaswini Kotha

Ajay kumar Nimmagadda

 

Amarender reddy Kasireddy

 

 

 

 

 
 

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Subbaraju

Rakesh reddy Ponthati
Kranthi Yedla

Srinivas Ramidi

Ravi chandhar reddy Gopireddy
Sandeep Pulakanti
manasa Dolla

Sunil kumar Bobba

Nikhil Venepally

Priya sree Bukka

ChaitNY Saikumar Valluri
Rajitha Surapaneni

Pavan kumar reddy Adhirala
Arun kumar Mothe
Santosh kumar Koppula
Venkat reddy Maddi
Venkata Kilamangalam
Srikanth yadav Totha
Shiva kumar Banala

Siva harsha Illa

Naresh Neta

Rajath Dixit

Sai krishana Kaliasapu
Naveen reddy Mudupu
Prudhvi reddy Gasukonda
Vinisha katepally

Santosh kumar Pratapuram
Sikanth reddy Pamena
Phani Ratna

Sruthi Akavarum

Praveen kumar Pogaku
Prakash reddy Lankala
Kranthi kumar Maroju

 

Rohit katta

 
 

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Mahenradagiri Goswami
Venu

Praveen

Srikanth

Balaji

Anudeep goud Bathula
Shashank Mamudala
Sindhu Vasavi
Phanindra reddy Battula
Vatsyayan

Yogeshwar Panga
Thirupathi

Sai Praveen

Ram Chandra
Mohammed Akbar
Sharan Teja

Murali

Sarala Inturi

Ajay Bandari
Prashanth Perala
Pavan Kumar
Sumanth

Prashanth

Shiva Miryala

Praveen Ragipani
Lavanya Chittajallu
Vinil Kumar

Vineel prasad Akula
Sudha madhuri battu
Bhanu chander luddiperrla
Vardhan reddy
Madhukar Karukuri
Raghu Ponugoti

Ravi kanth

 

 
 

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Shiva rama krishna prasad
Sudheer kumar

Sruthi reddy

Lavanya Kunamaneni
Koushik reddy Malladi

Vikas Chitla

Sai sandeep goud Kurremula
Vmshidhar reddy Gangapuri
Jaya Shankar krishana

Mohd Gayaz

Adi Shankara reddy Gangasani
Kishore kumar chunchu
Rakesh reddy

Srikanth yadav

Sandeep Koya

Bharath Pyla

Swetha

Chenna keshava reddy
Santosh reddy

Bala sudara rao Padavala
Sai praveen Mittapali

Gopi chandh Thotakura
Ramachandhar reddy Mamidi
Madhuri

Divya

Kiran

Vivek reddy

Chandu

 

Sourab Deopura
Dilip Chinnaidhgari
Prudhvi nag Challa
Maheshwar reddy K
SiddarthS

Ajay Dasari

 
 

Case 2:19-cr-20026-GAD-EAS ECF No. 110-6 filed 09/05/19 PagelD.735 Page 17 of 17

475 Venkata teja kammishetty
476 Abhishek Duggiyala

477 Shiva prasanna kumar Chintapaly
478 Priyanka S

479 Sammer Sheik

480 Narsimha rao A

481 hasan teja G

482 Sri pavan reddy Edla

483 Pooja Manda

484 Rajesh Kethineni

485 Sailesh Gudual

486 Mahmood Younis

487 Anil kumar Aparadi

488 Dheeraj Sama

489 Vamshi Komatti reddy
490 Venkat Gangavarapu
491 Nikhil Chepuri

492 Vijay kumar Komma

493 Venkata prabu Rambabu
494 Sai nadh reddy G

495 Balaji Soma

496 Pavan Naik

497 Karthik reddy Gayam
